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NEURONTIN

David Franklin, a former Parke-Davis employee (a division of Pfizer) who exposed
illegal marketing of Neurontin (gabapentin), an epilepsy drug, for relieving pam,

headaches, bipolar disorder and other psychiatric illnesses. ‘The ease revealed that
the company marketed the drug for these illnesses while withholding evidence that

the drug was not effective for these illnesses. After initially denying wrongdoing,
Pfizer plead guilty to criminal violation of the Food, Drug and Cosmetics Act and
paid criminal and civil fines of $430 million dollars. This case has opened a unique

window into pharmaceutical industry practices through the achieving [5]

(http://dida.library.ucst.cdu./) and study [6]
(http://www-annals.org/czi/ content/full/145/4/284) of documents by UCSF obtained

by Franklin’s attorney Thomas Greene. The Franklin.v. Pfizer case was unique in a
number of ways: it was the largest settlement obtained by the U.S taxpayers in a
case not joined by the Department of Justice, it established a new standard of
accountability for pharmaceutical industry marketing practices, it broadened the
use of the False Claims Act to include fraudulent marketing claims (not just
‘financial fraud) as criminal violations of federal and state law, it revealed the
involvement, complicity and active participation in fraud by many renowned
physicians, and it demonstrated that the medical literature which is the foundation
for medical practice and particularly off-label prescribing by physicians has been
“ — deeply adulterated by the pharmaceutical industry and its paid clinical consultants.
” ¥ Franklin v. Pfizer showed that pharmaceutical control of the healthcare system,
including doctors and pharmacists resulted in a large tumber of patients (not just
Medicare/Medicaid) paying a great deal of money ( Neurontin sales were $2.2 billion _
in 2004) for a drug that did nothing to help their illness. xe | }
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Peter Rost (doctor). Peter Rost was a former vice president at the pharmaceutical
company Pfizer that reported about accounting irregularities and other
irregularities to the US authorities. In response to his whistle blowing he was exiled.
internally by Pfizer and removed from all responsibilities and decision making. In
2004, he testified in Congress as a private individual in favor of drug reimportation,
a position strongly at odds with the official policy of the pharmaceutical industry.
In December 2005, Rost was fired from Pfizer. In September 2006 he published his

experiences in the book “THE WHISTLEBLOWER: CONFESSIONS OF A
HEALTHCARE HITMAN”.
